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Fill in this information to identify your case:

Debtor 1                      Elree D. Ashford,, Jr.

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the:       EASTERN DISTRICT OF ARKANSAS,
                                              JONESBORO DIVISION

Case number               2:21-bk-11284                                                                    Check if this is:
(If known)
                                                                                                           
                                                                                                           X An amended filing
                                                                                                              A supplement showing postpetition chapter 13
                                                                                                               income as of the following date:

Official Form 106I                                                                                             MM / DD/ YYYY
Schedule I: Your Income                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                  Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
                                                                      Not employed                               Not employed
       information about additional
       employers.
                                             Occupation
       Include part-time, seasonal, or
       self-employed work.                   Employer's name         Hino Motors

       Occupation may include student or Employer's address          100 Hino Blvd
       homemaker, if it applies.
                                                                     Marion, AR 72364-7107

                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

                                                                                                         For Debtor 1        For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.             2.    $         3,867.50      $               N/A

3.     Estimate and list monthly overtime pay.                                                 3.   +$              0.00     +$              N/A

4.     Calculate gross Income. Add line 2 + line 3.                                            4.    $      3,867.50             $         N/A




Official Form 106I                                                        Schedule I: Your Income                                                    page 1
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Debtor 1    Ashford,, Elree D. Jr.                                                                  Case number (if known)    2:21-bk-11284


                                                                                                        For Debtor 1          For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                      4.          $      3,867.50       $              N/A

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                   5a.        $        595.42        $              N/A
      5b.    Mandatory contributions for retirement plans                                    5b.        $          0.00        $              N/A
      5c.    Voluntary contributions for retirement plans                                    5c.        $          0.00        $              N/A
      5d.    Required repayments of retirement fund loans                                    5d.        $          0.00        $              N/A
      5e.    Insurance                                                                       5e.        $        121.33        $              N/A
      5f.    Domestic support obligations                                                    5f.        $          0.00        $              N/A
      5g.    Union dues                                                                      5g.        $          0.00        $              N/A
      5h.    Other deductions. Specify:                                                      5h.+       $          0.00 +      $              N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.      $            716.75       $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.      $          3,150.75       $               N/A
8.    List all other income regularly received:
      8a.    Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                             8a.        $              0.00    $              N/A
      8b. Interest and dividends                                                             8b.        $              0.00    $              N/A
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                            8c.        $              0.00    $              N/A
      8d. Unemployment compensation                                                          8d.        $              0.00    $              N/A
      8e.    Social Security                                                                 8e.        $              0.00    $              N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                        8f.  $                    0.00   $               N/A
      8g. Pension or retirement income                                                       8g. $                     0.00   $               N/A
      8h. Other monthly income. Specify:                                                     8h.+ $                    0.00 + $               N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                              9.      $                  0.00   $                N/A

10. Calculate monthly income. Add line 7 + line 9.                                         10. $            3,150.75 + $            N/A = $          3,150.75
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                       11.    +$             0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on theSummary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.       $          3,150.75
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
         No.
         Yes. Explain:




Official Form 106I                                                      Schedule I: Your Income                                                       page 2
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Fill in this information to identify your case:

Debtor 1                Elree D. Ashford,, Jr.                                                              Check if this is:
                                                                                                            
                                                                                                            X An amended filing
Debtor 2                                                                                                     A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                             expenses as of the following date:

United States Bankruptcy Court for the:    EASTERN DISTRICT OF ARKANSAS,                                           MM / DD / YYYY
                                           JONESBORO DIVISION

Case number           2:21-bk-11284
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
             Yes. Debtor 2 must file Official Form 106J-2,Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and
      Debtor 2.
                                           Yes.   Fill out this information for
                                                   each dependent..............
                                                                                   Dependent¶s relationship to
                                                                                   Debtor 1 or Debtor 2
                                                                                                                      Dependent¶s
                                                                                                                      age
                                                                                                                                      Does dependent
                                                                                                                                      live with you?

      Do not state the                                                                                                                 No
      dependents names.                                                            Son                                16               Yes
                                                                                                                                       No
                                                                                                                                       Yes
                                                                                                                                       No
                                                                                                                                       Yes
                                                                                                                                       No
                                                                                                                                       Yes
3.    Do your expenses include
      expenses of people other than
                                                  No
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                      Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                              0.00

      If not included in line 4:

      4a.   Real estate taxes                                                                              4a.   $                          0.00
      4b. Property, homeowner¶s, or renter¶s insurance                                                     4b.   $                         67.00
      4c.   Home maintenance, repair, and upkeep expenses                                                  4c.   $                         50.00
      4d. Homeowner¶s association or condominium dues                                                      4d.   $                          0.00
5.    Additional mortgage payments for your residence, such as home equity loans                            5.   $                          0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                         page 1
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Debtor 1     Ashford,, Elree D. Jr.                                                                    Case number (if known)       2:21-bk-11284

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                   6a. $                                               386.00
      6b. Water, sewer, garbage collection                                                     6b. $                                                65.09
      6c.     Telephone, cell phone, Internet, satellite, and cable services                   6c. $                                               137.00
      6d. Other. Specify: cell phone                                                           6d. $                                               355.00
7.    Food and housekeeping supplies                                                            7. $                                               690.00
8.    Childcare and children¶s education costs                                                  8. $                                                 0.00
9.    Clothing, laundry, and dry cleaning                                                       9. $                                                50.00
10.   Personal care products and services                                                      10. $                                                 0.00
11.   Medical and dental expenses                                                              11. $                                                 0.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                             12. $                                                80.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                       13. $                                               100.00
14.   Charitable contributions and religious donations                                         14. $                                                 0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                     15a. $                                                 0.00
      15b. Health insurance                                                                   15b. $                                                 0.00
      15c. Vehicle insurance                                                                  15c. $                                               186.00
      15d. Other insurance. Specify:                                                          15d. $                                                 0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: Personal Property Tax - shalamar                                                16. $                                                 10.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                         17a. $                                                  0.00
      17b. Car payments for Vehicle 2                                                         17b. $                                                  0.00
      17c. Other. Specify:                                                                    17c. $                                                  0.00
      17d. Other. Specify:                                                                    17d. $                                                  0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).          18. $                                                  0.00
19.   Other payments you make to support others who do not live with you.                           $                                                 0.00
      Specify:                                                                                 19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                        20a. $                                                  0.00
      20b. Real estate taxes                                                                  20b. $                                                  0.00
      20c. Property, homeowner¶s, or renter¶s insurance                                       20c. $                                                  0.00
      20d. Maintenance, repair, and upkeep expenses                                           20d. $                                                  0.00
      20e. Homeowner¶s association or condominium dues                                        20e. $                                                  0.00
21.   Other: Specify:                                                                          21. +$                                                 0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                      $                       2,176.09
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                              $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                 $                       2,176.09
23. Calculate your monthly net income.
    23a. Copy line 12(your combined monthly income) from Schedule I.                                        23a. $                               3,150.75
    23b. Copy your monthly expenses from line 22c above.                                                    23b. -$                              2,176.09

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                974.66

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
       No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
